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December 1, 2020

Honorable Loretta A. Preska
United States District Court
Southern District of New York
500 Pearl Street
New York, NY 10007

Re: Motion to File Under Seal and Request for Additional ¾ Page of Briefing
    Giuffre v. Ghislaine Maxwell, No. 15 Civ. 7433 (LAP)

Dear Judge Preska:

This is a letter motion seeking leave to permit Ms. Maxwell to file a redacted Reply
Memorandum of Law in Support of Objections to Unsealing Sealed Materials Related to DEs
231, 279, 315, 320 & 335 and to file under seal Exhibit E thereto.

The Protective Order governing this case states:

       Whenever a party seeks to file any document or material containing CONFIDENTIAL
       INFORMATION with the Court in this matter, it shall be accompanied by a Motion to
       Seal pursuant to Section 6.2 of the Electronic Case Filing Rules & Instructions for the
       Southern District of New York.

Doc. # 62 at 4. The Memorandum of Law and Exhibit E contain information deemed
CONFIDENTIAL by the parties pursuant to the Protective Order. References to and
discussion of specific CONFIDENTIAL materials are necessary to support Ms. Maxwell’s
request that these materials remain under seal.

Ms. Maxwell intends to file the redacted version of the Memorandum publicly on ECF and
seeks leave only to file the unredacted version and Exhibit E under seal.

Ms. Maxwell additionally requests, pursuant to paragraph 2(g) of the Protocol (DE 1108) that
she be permitted an additional ¾ of a page for her Reply. The Protocol permits applications
for an extension of the page limits of any memorandum on an ad hoc basis. In her Reply, Ms.
Maxwell needed to address a significant number of legal and factual issues raised by plaintiff
in her Objections, including clarifying the record regarding Non-Party Notices, the effect of
the various appeals (Brown and round one of unsealing) on this Court’s analysis in this round
two, and the impact of any unsealing on Ms. Maxwell’s pending criminal trial. Ms. Maxwell
also needed to address plaintiff’s request to keep certain items under seal raised for the first
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time in her Response and her accompanying exhibit. In order to fully address the merits of
these facts and arguments, counsel was unable to confine her Reply to 10 pages but rather was
able to conclude in 10 ¾ pages. She respectfully requests that the Court indulge the additional
¾ page in this instance.


                                             Respectfully submitted,



                                             Laura A. Menninger

CC: Counsel of Record via ECF
